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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                                                                 DECISION AND ORDER
              v.                                                   09-CR-329A

KEVIN ALLEN,

                                    Defendant.



       INTRODUCTION

       The defendant, Kevin Allen, is scheduled to be sentenced by this Court, on

October 2, 2018 at 12:30 p.m., on his previous conviction, following a jury trial, as to:

Count 1 of the redacted superseding indictment (Dkt. No. 164) charging participation in

the affairs of an enterprise through a pattern of racketeering activity in violation of

Sections 1962(c) and 1963(a) of Title 18 of the United States Code; Count 2 of the

redacted superseding indictment charging conspiracy to participate in the affairs of an

enterprise through a pattern of racketeering activity in violation of Sections 1962(d) and

1963(a) of Title 18 of the United States Code; Count 3 of the redacted superseding

indictment charging conspiracy to possess with intent to distribute, and to distribute,

controlled substances in violation of Sections 846, 841(a)(1), 841(b)(1)(d) and 851 of

Title 21 of the United States Code; Count 4 of the redacted superseding indictment

charging possession of a firearm in furtherance of a drug trafficking crime, in violation of

Sections 924(c)(1)(a)(i) and 2 of Title 18 of the United States Code; and Count 6 of the

redacted superseding indictment charging Hobbs Act robbery, in violation of Sections

1951(a) and 2 of Title 18 of the United States Code.
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      Both the Government and defense counsel have filed statements with respect to

sentencing factors and sentencing memorandums. (Dkt. Nos. 719, 756, 758, 768, 774)

Defendant objects to a number of factual and legal findings in the Presentence

Investigation Report (“PSR”). (Dkt. No. 787) Below is the Court’s ruling as to

defendant’s objections.

      FACTUAL FINDINGS IN THE PSR

      With respect to the factual findings contained in Paragraphs 4 through 45 of the

PSR, defendant argues that the following three categories of information should be

removed: (1) information pertaining to Counts and Racketeering Acts for which the jury

could not reach a verdict; (2) information pertaining to conduct for which defendant was

acquitted; and (3) information about uncharged conduct for which no specific findings

were made by the jury. To that end, defendant argues that Paragraphs 34 through 37

should be stricken from the PSR because the jury was unable to reach a verdict on the

Counts and Racketeering Acts related to his participation in the murder of Sam Jones

(Counts 13, 14 and 15). He further argues that since the jury was unable to reach a

verdict as to whether he kidnaped Woodie Johnson in aid of racketeering (Count 5) and

later possessed with intent to distribute cocaine taken from Woodie Johnson,

information about his participation in the kidnaping and robbery of cocaine should be

removed from Paragraph 8 and Paragraphs 16 through 21 of the PSR. Defendant

argues that Paragraph 23, which discusses a Racketeering Act involving the robbery of

Larry Kemp, should be removed because the jury acquitted him of this conduct.

Defendant also argues that Paragraphs 25 through 33, which discuss the murder of

Thedrus Laster, should be stricken from the PSR because he was not charged in those

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Counts or Racketeering Acts.

         Section 1B1.4 of the Sentencing Guidelines states that, pursuant to Section

3661 of Title 18 of the United States Code, “in determining the sentence to impose

within the guideline range...the court may consider, without limitation, any information

concerning the background, character and conduct of the defendant.” The Supreme

Court has noted that, “as a general proposition, a sentencing judge may appropriately

conduct an inquiry broad in scope, largely unlimited either as to the kind of information

he may consider, or the source from which it may come.” Nichols v. United States, 511

U.S. 738, 747 (1994). Also, a sentencing court is permitted to consider “hearsay

evidence, evidence of uncharged crimes, dropped counts of an indictment and criminal

activity resulting in an acquittal.” United States v. Reese, 33 F.3d 166, 174 (2d Cir.

1994).

         Paragraph 4 of the PSR states that information in the offense conduct section

was obtained by the Probation Officer, from the indictment, consultation with the

Assistant U.S. Attorney, trial testimony and other investigative materials provided by the

U.S. Attorney’s office. Indeed, these paragraphs provide, inter alia, background

information as to the conspiracy and crimes charged in this case, information about the

lengthy investigation of defendant and his co-conspirators, and a detailed description of

much of the trial testimony. Because a sentencing court is permitted to undertake a

broad inquiry as to the background, character and conduct of the defendant, all of the

factual information contained in the offense conduct section of the PSR was properly

included. The Court notes that it will discuss separately how charges in the indictment

for which the jury was unable to reach a unanimous verdict specifically affect

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defendant’s guideline range calculations. However, all of this factual information was

properly included in the Offense Conduct Section.

       Defendant states that Paragraph 18 of the PSR contains an internal

inconsistency in that it states that Steve Martin testified that on February 24, 2005,

defendant arrived at Martin’s residence and informed him that he missed the robbery.

Martin further testified that defendant informed Martin that he, along with co-defendants

Thamud Eldridge and Kashika Speed, traveled to Woodie Johnson’s residence and

carried out the robbery. The Court finds that this sentence is not inconsistent and that it

is an accurate summary of Martin’s trial testimony. Defendant also objects to the

phrase “said time period” in Paragraph 8 of the PSR as confusing. Defendant argues

that it is unclear as to whether the time period refers to the mid 1990's through the early

2000’s or refers to 2003 through 2005, which is the period covered by the indictment.

The Court finds that Paragraph 8 is not unclear. Steve Martin and Timothy Jackson

testified that the Montana Bridge and NBC Gang sold heroin and cocaine base from the

mid 1990's to the early 2000's. Martin testified that he observed defendant selling

bundles of heroin during this same time frame. Indeed, the time period of the mid

1990's to the early 2000's overlaps with the period of 2003 through December of 2005,

which is covered by the indictment.

       For these reasons, the Court adopts the findings of fact contained in the PSR as

its findings of fact.
       APPLICATION OF THE GUIDELINES TO THE FACTS

       Defendant was found guilty of Count 1 (Racketeering), Count 2 (Conspiracy to

Commit Racketeering), Count 3 (Narcotics Conspiracy), Count 4 (Possession of

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Firearm in Furtherance of Drug Trafficking); and Count 6 (Hobbs Act Robbery).

       With respect to Counts 1 and 2, pursuant to Application Note 1 of Guideline

Section 2E1.1, where there is more than one underlying offense, each underlying

offense is treated as if it were contained in a separate count of conviction for the

purposes of Guideline Section 2E1.1(a)(2) and requires a determination as to whether

Subsection (a)(1) or (a)(2) results in the greater offense level after considering Chapter

3, Parts A, B, C, and D. Each Racketeering Act is treated as a separate incident,

therefore, the total offense level is determined by using the multi-count rules found in

Guideline Section 3D1.4.

       Count Group 1: Conspiracy to Distribute Controlled Substances

       Pursuant to Guideline Section 3D1.2(d), Racketeering Act 1 of Count 1, Overt Act

1 of Count 2, and Count 3 are grouped for guideline calculation purposes, as the offense

level is determined largely on the basis of the quantity of the substance involved. Pursuant

to Guideline Section 3D1.3(b), the offense level applicable to a group is the offense level

corresponding to the aggregated quantity, determined in accordance with Chapter Two and

Parts A, B, and C of Chapter Three of the Sentencing Guidelines.


       Count 1- Racketeering Act 1: Conspiracy to Distribute Controlled Substances

       Count 2 - Overt Act 1 - Conspiracy to Distribute Controlled Substances

       Count 3 - Conspiracy to Possess with Intent to Distribute, and to Distribute,
       Controlled Substances


       For Count Group 1, the PSR recommends that defendant's base offense level

under Guideline Sections 2A1.1(a)(5) and 2D1.1(c)(4) is 32 because the offense


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involved the equivalent of at least 3,000 kilograms but less than 10,000 kilograms of

marijuana. Defendant objects to this assessment of the amount of drugs involved. He

argues that he was incarcerated during most of the time period of the conspiracy, that

the drug amount was not foreseeable to him, and that the drug quantity calculations are

not supported by specific testimony or evidence in the record.

       The Court rejects these arguments. To begin, the drug amounts in Paragraph

54 of the PSR are supported by the trial testimony of Jay Renfro, Henry Lloyd, Steve

Martin, Woodie Johnson and Jerome Laser. According to Martin and Laster, the

Montana Bridge Gang sold approximately five to ten pounds of marijuana per week

from 1999 through 2005. Thus, over the duration of the drug conspiracy between 2003

through December 2005, the conspirators were involved in the distribution of

approximately 780 to 1,560 pounds of marijuana. This is the equivalent of

approximately 353.8 kilograms to 707.6 kilograms of marijuana. In addition, Martin

testified that he observed Allen sell bundles of heroin on five occasions, for a total of

approximately five grams during the time period of the conspiracy. Renfro testified that

he provided Eldridge with half a kilogram of cocaine base in 2003. Trial testimony

indicated that on February 23, 2005, members of the conspiracy abducted Woodie

Johnson, a known drug dealer, and stole two kilograms of cocaine from him. Lloyd

testified that in April 2003, Allen robbed him of an ounce of cocaine and $3,500 (the

equivalent of approximately 3.5 ounces of cocain base). There is also evidence that in

October of 2005, Allen, Eldridge and others robbed Lloyd again, this time of $21,000

(the equivalent of 10.5 ounces of cocaine) and 4.5 ounces of powder cocaine. These

amounts of heroin, cocaine and cocaine base were converted to their marijuana

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equivalents pursuant to Guideline Section 2D1.1. The amounts were then added to the

353.8 kilograms to 707.6 kilograms of marijuana distributed by conspirators, for a total

of at least 3,000 but less than 10,000 kilograms of marijuana.

       The Court also rejects defendant’s arguments that he was incarcerated for the

majority of the conspiracy and that the amount of drugs was not foreseeable to him.

There is no evidence in the record that defendant attempted to withdraw from the

conspiracy at any time nor is there evidence to support his contention that the amount

of narcotics involved was not foreseeable. In fact, there was evidence that he not only

sold narcotics himself but also that he conspired to rob other drug dealers to obtain

both money and narcotics. Steve Martin testified that Allen planned robberies of drug

dealers while they were housed at Gouverneur Correctional Facility, demonstrating that

defendant’s criminal activity did not end during periods of incarceration. Morever, as

noted in the PSR, defendant was released to parole supervision on August 1, 2003 by

Erie County Court. Although he sustained several convictions thereafter, he was either

sentenced to conditional discharges or brief periods of incarceration in local jail

facilities. As such, defendant was residing in the community and not in state custody

during the majority of the conspiracy.

       For these reasons, the Court finds that paragraph 54 of the PSR correctly states

that the instant offense involved at least 3,000 but less than 10,000 kilograms of

marijuana such that defendant’s base offense level for Count Group 1 is 32. The PSR

also recommends a 2 level upward adjustment pursuant to Guideline Section

2D1.1(b)(12) as the defendant maintained a drug involved premises. The Court adopts

this recommendation since there was testimony that Allen and others maintained a

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stash house on Reed Street.

       For these reasons, the Courts finds that the adjusted offense level as to Count

Group 1 is correctly calculated as 34.

       Count Group 2: Robbery and Kidnapping of W.J.

       Pursuant to Guideline Section 3D1.2(a), Racketeering Act 3 of Count 1, Overt

Act 3 of Count 2, and Count 6 are grouped for guideline calculation purposes as the

counts involve the same victim (Woodie Johnson) and the same act or transaction

(robbery and kidnapping). Pursuant to Guideline Section 3D1.3(a), the offense level

applicable to a group is the offense level, determined in accordance with Chapter Two

and parts A, B, and C of Chapter Three of the sentencing guidelines, for the most

serious count comprising the group.



       Count 1- Racketeering Act 3: Robbery and Kidnapping of Johnson

       Count 2 - Overt Act 3 - Robbery and Kidnapping of Johnson

       Count 6 - Hobbs Act Robbery



       For Count Group 2, the presentence investigation report indicates that the most

serious offense is kidnaping. The PSR recommends that defendant's base offense

level is the offense level applicable to the underlying racketeering activity (kidnaping of

Johnson), which is found in Guideline Section 2A4.1. Pursuant to Guideline Section

2A4.1(a)(7)(b), if the victim was kidnaped, abducted, or unlawfully restrained during the

commission of or in connection with, another offense, increase to four (4) plus the



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offense level from the offense guideline applicable to that other offense if the resulting

offense level is greater than that determined using Guideline Section 2A4.1(a)(1)-(6).

The other offense is Hobbs Act Robbery, which has a base offense level of 20,

pursuant to Guideline Section 2B3.1(a). Therefore, the PSR recommends an initial

offense level of 24.

       The PSR recommends a 6 level upward adjustment pursuant to Guideline

Section 2B3.1(b)(2)(B) as the victim was held at gunpoint with a weapon pressed to his

neck. The PSR recommends a 4 level upward adjustment pursuant to Guideline

Section 2B3.1(b)(4)(A) as the victim was abducted to facilitate the commission of the

instant offense. The PSR also recommends a 1 level upward adjustment pursuant to

Guideline Section 2B3.1(b)(6) as the defendant stole a controlled substance. The

presentence investigation report also recommends a 1 level upward adjustment

pursuant to Guideline Section 2B3.1(b)(7)(B) as the total loss in the instant offense was

$82,000, which is more than $20,000 but less than $95.000. Thus, the PSR

recommends an adjusted offense level of 36 for Count Group 2.

       Count Group 3: Murder and Conspiracy to Commit Robbery of Sam Jones,

       Jr., a/k/a Smokey

      Pursuant to Guideline Section 3D1.2(a), Racketeering Act 6 of Count 1, and

Overt Act 6 of Count 2 are grouped for guideline calculation purposes as the counts

involve the same victim and the same act. Pursuant to Guideline Section 3D1.3(a), the

offense level applicable to a group is the offense level, determined in accordance with

Chapter Two and parts A, B, and C of Chapter Three of the Sentencing Guidelines, for



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the most serious count comprising the group.



       Count 1-Racketeering Act 6- Murder and Conspiracy to Commit Robbery of

       Sam Jones, Jr., a/k/a Smokey

       Count 2- Overt Act 6 - Murder and Conspiracy to Commit Robbery of Sam

       Jones, Jr., a/k/a Smokey



       The PSR recommends that defendant's base offense level under Guideline

Sections 2E1.1(a)(2) and 2A1.1(a) is 43 for Count Group 3. Thus, the PSR

recommends an adjusted offense level for Count Group 3 of 43.

       Defendant objects to the inclusion of Count Group 3. Defendant argues that

because the jury was unable to reach a verdict as to Racketeering Act 6 of Count 1 and

Overt Act 6 of Count 2, both of which involve the murder of Sam Jones, Count Group 3

should not be included in the multiple count adjustment to determine defendant’s

guideline range. The Government contends that because there is evidence in the record

to find, by a preponderance of the evidence, that defendant participated in the murder of

Sam Jones, the inclusion of Count Group 3 is accurate. Should the Court accept

defendant’s objections, Count Group 3 would not factor into defendant’s total offense

level or sentencing calculation.

       The applicable Guidelines as to Count 4, which is not factored into the multi-

Count adjustment, are as follows:




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       Count 4: Possession of Firearms in Furtherance of a Drug Trafficking Crime

       The Sentencing Guidelines for a violation of Section 924(c)(1) of Title 18 of the

United States Code is found in Guideline Section 2K2.4(b). Pursuant to Guideline

Section 2K2.4(b), if the offense involved a firearm in furtherance of a drug trafficking

crime, the guideline sentence is the minimum term of imprisonment required by statute

and further, Chapters Three and Four shall not apply to this count of conviction.

Pursuant to Section 924(c)(1)(a)(i) of Title 18 of the United States Code, the required

minimum term of imprisonment is five (5) years, which is to be served consecutive to the

other counts of conviction.

       The Court will now calculate defendant’s total offense level using the multiple

count adjustment pursuant to Guideline Section 3D1.4 and defendant’s guideline range.

The Court will calculate both the total offense level and the guideline range

recommended by the PSR and endorsed by the government, as well as the total offense

level and applicable guideline range should defendant’s objections be adopted.

       Should the Court accept the calculations of the PSR and the position of the

Government, the combined adjusted offense level, after the multiple count adjustment

set forth in Guideline Section 3D1.4, is 44. This includes an adjusted offense level of 34

for Count Group 1, an adjusted offense level of 36 for Count Group 2, and an adjusted

offense level of 43 for Count Group 3. However, pursuant to Chapter 5, Part A, when

the total offense level is calculated in excess of 43, which is the highest offense level in

the guidelines, the offense level is 43. The PSR recommends that the total offense level




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be calculated at level 43 and that the criminal history category should be properly

calculated as Category VI.

       With an offense level of 43 and a criminal history category of VI, the recommended

guideline range for Counts 1, 2, 3 and 6 is life on each Count. However, pursuant to

Sections 1963(a) and 1951(a) of Title 18 of the United States Code, the maximum term of

imprisonment for Counts 1, 2 and 6 is 240 months as to each Count. Pursuant to Section

841(b)(1)(d) of Title 21 of the United States Code, the maximum term of imprisonment as

to Count 3 is 60 months. Taking into account the statutory maximums, the guideline range

becomes 240 months as to each of Counts 1, 2, and 6 and 60 months as to Count 3.

       Should the Court accept defendant’s objections, the combined adjusted offense level

set forth in Guideline Section 3D1.4, after the multiple count adjustment, is 38. This

includes an adjusted offense level of 34 as to Count Group 1, an adjusted offense level of

36 as to Count Group 2, and a removal of Count Group 3 entirely from the calculation.

Defendant’s criminal history category is properly calculated as Category VI. With a total

offense level of 38 and a criminal history category of VI, the guideline range for Counts 1,

2, 3 and 6 is 360 months to life for each count. However, taking into account the statutory

maximums just explained, defendant’s guideline range becomes 240 months as to each

of Counts 1, 2, and 6 and 60 months as to Count 3.

       Thus, in light of the statutory maximums, defendant has the same guideline range

as to Counts 1, 2, 3 and 6 regardless of whether the Court adopts the calculations set forth

in the PSR and endorsed by the government or whether the Court accepts defendant’s

objections and does not consider Count Group 3. Therefore, the Court will not decide

defendant’s objections as to the inclusion of the conduct involving the robbery and murder

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of Sam Jones. The Second Circuit has held that “disputes about the applicable guidelines

need not be resolved where the sentence falls within either of two arguably applicable

guideline ranges and the same sentence would have been imposed under either guideline

range.” United States v. Bermingham, 855 F.2d 925 (2d Cir. 1988). See also United States

v. Borrego, 388 F.3d 66 (2d Cir. 2004) (sentence of 240 months imprisonment affirmed

where sentencing judge could have imposed a sentence of 240 months imprisonment

regardless of the outcome of the disputed sentencing issues, and made clear that the

sentence would have been the same regardless).

       Pursuant to Guideline Sections 2K2.4(b) and 5G1.2(a), with respect to Count 4, the

guideline sentence is the minimum term of imprisonment required by Section 924(c)(1)(a)(i)

of Title 18 of the United States Code, which is 60 months, which must run consecutive to

any other counts.

       Pursuant to Guideline Section 5G1.2(d), if the sentence imposed on the count

carrying the highest statutory maximum is less than the total punishment, then the sentence

imposed on one or more of the other counts shall run consecutively, but only to the extent

necessary to produce a combined sentence equal to the total punishment. In all other

respects, sentences on counts shall run concurrently, except to the extent otherwise

covered by law. Pursuant to Guideline Section 5G1.3(d), if a defendant is serving a prior

undischarged term of imprisonment, the sentence for the instant offense may be imposed

to run concurrently, partially concurrently, or consecutively to the prior undischarged term

of imprisonment to achieve a reasonable punishment for the instant offense. Section

3584(a) of Title 18 of the United States Code indicates that if multiple terms of



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imprisonment are imposed on a defendant at the same time, or if a term of imprisonment

is imposed on a defendant who is already subject to an undischarged term of imprisonment,

the terms may run consecutively or concurrently.

       Here, defendant argues that his sentence as to Counts 1, 2, 3 and 6 should run

concurrent to each other. Defendant acknowledges that his sentence as to Count 4, which

is a mandatory minimum of 60 months, must then be imposed consecutively. Defendant

further contends that his sentence in this case should be imposed concurrently with his

current undischarged state sentence of 25 years to life imprisonment imposed in Erie

County Court on November 18, 2009, under Docket No. 2007-01846. The Government

contends that defendant’s sentences in all Counts in this case should run consecutively to

each other and consecutively to his undischarged state sentence. The Court will address

these arguments and make a ruling as to how the sentences as to each Count will be

imposed at the time of sentencing and after hearing argument from counsel on this issue.

       CONCLUSION

       The Court’s rulings as to the applicable sentencing guideline and defendant’s

objections are set forth herein and will be restated on the record at the time of defendant’s

sentencing on October 2, 2018. The Court will impose sentence at that time, after it has

heard from the Government, defense counsel and defendant. The Court notes that in

making the determinations set forth herein, it has considered all of the filings and arguments

by both the Government and defendant and that no further filings as to the objections are

needed.




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IT IS SO ORDERED.




                                     ____Richard J. Arcara____________
                                     HONORABLE RICHARD J. ARCARA
                                     UNITED STATES DISTRICT COURT


Dated: September 11, 2018




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